       Case 1:19-cr-00374-JMF         Document 201        Filed 01/03/22     Page 1 of 3




                                                            January 3, 2022

BY ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

RE:    United States v. Michael Avenatti
       19 Cr. 374 (JMF)

Dear Judge Furman:

       We write in further support of our motion to adjourn the trial.

       Since the defense’s opening motion on December 23, 2021, the Omicron
variant of COVID-19 has driven a dramatic surge in cases throughout New York.
Statewide hospitalizations stand at 9,563 (290 admissions greater than the peak on
January 18, 2021) and deaths are in the triple digits (103) for the first time since
vaccinations became widespread. Breakthrough infections are also on the rise. 149.5
of 100,000 fully vaccinated New Yorkers were infected the week of December 20,
2021, compared with a rate of 28.3 breakthrough infections per 100,000 the week of
December 6. And in New York City, almost one in three COVID tests are currently
coming back positive. Realistically, and as recently affirmed by Governor Kathy
Hochul, we should not expect a decline in core viral rates across New York until the
first week of February at the earliest. 1 And somewhat ominously, the defense also
learned tonight that its lead paralegal on the case tested positive for COVID-19 this
evening and may have inadvertently exposed all but one of the other members of
the defense team during an in-person meeting earlier this afternoon.

      This surge in COVID-19 infections is also a nationwide problem, causing
some district courts to suspend jury trials altogether for the month of January. For
example, undersigned counsel understand that jury trials are suspended in the

1 See Jennifer Millman, NY COVID Hospitalizations Top 2021 Surge Levels; Omicron Quintuples
Risk of Breakthrough Cases, NBC New York (Jan. 3, 2022), available at:
https://www.nbcnewyork.com/news/coronavirus/ny-covid-hospitalizations-top-2021-surge-levels-as-
omicron-drives-95-of-cases/3476250/.
       Case 1:19-cr-00374-JMF          Document 201        Filed 01/03/22     Page 2 of 3




Central District of California and District of Maryland through January 24, 2022, 2
and they are suspended in the District of New Jersey through January 31, 2022. 3
Of course, preparing for trial in this case will require in-person contact between
dozens of prospective jurors and require the attorneys to meet regularly with
investigators, paralegals, and prospective witnesses, including some who might
have to fly to New York City under an unprecedented wave of flight delays and
cancellations. 4 This kind of regular, in-person contact during a high-transmission
period not only increases the risk of infection for counsel and the public, but also for
Mr. Avenatti, who is at a heightened risk for serious illness or death from the virus.
See, e.g., Sentencing Transcript, United States v. Avenatti, 19 Cr. 373 (PGG)
(S.D.N.Y. July 8, 2021) (“A variance is also necessary because Mr. Avenatti was
held in horrific conditions at the MCC for more than three months, in solitary
confinement for much of the time and in lockdown for nearly all of it . . . Conditions
were terrible. It’s hard to believe they could occur in the United States of America.
Mr. Avenatti himself was at risk from the Covid-19 virus as the result of a
preexisting medical condition.”); see also Dkt. No. 280, Declaration of F. Ramzi
Asfour, M.D. (infectious disease specialist), United States v. Avenatti, 19 Cr. 61
(JVS) (C.D. Ca.) (filed under seal).

        The circumstances surrounding Mr. Avenatti’s law firm servers also merit a
substantial adjournment. In its response, the Government sidesteps the core of Mr.
Avenatti’s argument as it pertains to the “if, as, and when” subpoena: The
Government’s subpoenaing of materials that largely reside on Mr. Avenatti’s
servers (which contain 20 terabytes worth of data) underscores their relevance to
this case, and reviewing this amount of data simply cannot occur in time for the
trial. See United States v. Ganias, 824 F.3d 199, 217 (2d Cir. 2016) (comparing the
capacity of one terabyte of data to that of 12 library floors’ worth of books).

       The testimony in the California case established that the forensic copies of
the servers were in the possession of Main Justice at the DOJ Cybercrime Lab in
Washington, D.C. since the Spring of 2019. See Exhibit A. Mr. Joseph Varani, a
DOJ Senior Digital Investigative Analyst with Main Justice, reviewed the data from
Mr. Avenatti’s laptop, which was seized from his briefcase at the time of his arrest
in New York, together with the servers. See id. Accordingly, the Government’s claim

2 See Tim Prudente and Christine Condon, Jury trials suspended in Maryland as COVID cases
spike, Baltimore Sun (Dec. 27, 2021), available at: https://www.baltimoresun.com/coronavirus/bs-md-
coronavirus-federal-court-in-baltimore-20211227-nxiwnphpeffk3ihmp56zd6wdkm-story.html.
3 See Standing Order 2021-11, In Re: Court Operations Under the Exigent Circumstances Created

by COVID-19, (D.N.J. Dec. 29, 2021), available at:
https://www.njd.uscourts.gov/sites/njd/files/SO2021-11COVID-19ExigentCircsFinal.pdf.
4 See generally Gregory Wallace and Matt McFarland, Holiday flight cancellations soar with Covid-

19 disruptions and bad weather, CNN Business (Updated Jan. 2, 2022 at 10:23 PM ET), available at:
https://www.cnn.com/2022/01/02/economy/holiday-flight-cancellations/index.html.
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       Case 1:19-cr-00374-JMF            Document 201         Filed 01/03/22       Page 3 of 3




that it did not have access to the servers from Mr. Avenatti’s law firm is simply not
accurate. 5 It is undisputed that Mr. Avenatti was first provided a copy of the
servers in mid-September 2021 after repeated requests (and the California
mistrial), including requests from Mr. Avenatti’s prior counsel in this case for the
information on the servers relating to Ms. Clifford and the wire fraud allegations.

       In opposing the motion, the Government suggests that because Mr.
Avenatti’s prior counsel in the Nike-related case before Judge Gardephe did not
request the servers, Mr. Avenatti cannot now claim a need for the information on
them. This argument fails. The case before Judge Gardephe dealt with different
issues and different counsel, and centered on conduct and information across 16
days that were not preserved on Mr. Avenatti’s firms’ servers. Here, given the
length of time Mr. Avenatti represented Ms. Clifford, the servers contain
substantial materials responsive to the subpoena and relevant to the charges. These
include communications revealing Mr. Avenatti’s financial dealings with Ms.
Clifford, the book agent, and the publisher; Mr. Avenatti’s email communications
with Ms. Clifford and others relating to her book deal; accounting details of the
costs, expenses and fees incurred by Mr. Avenatti during his work for Ms. Clifford;
and financial information relating to Mr. Avenatti’s firm. This information has been
in the Government’s control; it should have been produced years ago but was not.

       The Government further states in opposition that it has recently served a
subpoena on the bankruptcy trustee for Mr. Avenatti’s law firm but fails to include
a copy of the subpoena demonstrating what exactly it has requested. There is no
indication of what information, if any, the subpoena is likely to produce, nor is there
an explanation as to why the Government is only subpoenaing this material now,
some 30 months after charging Mr. Avenatti. In any event, this is a red herring
because the trustee subpoena does not supplant the Government’s discovery
obligations and has no bearing on Mr. Avenatti’s need to carefully review the data
on the servers. Accordingly, the Court should grant a 120-day continuance.

                                                                Respectfully Submitted,

                                                                            /s/
                                                                Robert M. Baum
                                                                Tamara L. Giwa
                                                                Andrew J. Dalack
Cc:     Government Counsel                                      Assistant Federal Defenders

5 The prosecutors in this case have also acknowledged that they have maintained the ability to
access information from their colleagues in the Central District of California. This makes sense
seeing as the two offices have consistently coordinated their efforts relating to Mr. Avenatti. See,
e.g., Dkts. 358, 363, United States v. Avenatti, 19 Cr. 373 (PGG) (S.D.N.Y.).
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